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                              IN THE UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF FLORIDA
                                         Case No. 1:22-cv-24066-KMM

       GRACE, INC., et al.,
                Plaintiﬀs,
       v.
       CITY OF MIAMI,
                Defendant.
                                                         /

                      PLAINTIFFS’ RESPONSE TO DEFENDANT’S OBJECTIONS
                              TO REPORT & RECOMMENDATIONS

               Plaintiﬀs ﬁle this Response to the City’s Objections (ECF 55–56) to the Report &

   Recommendations (ECF 52) on Plaintiﬀs’ Expedited Motion for Preliminary Injunction (ECF 26).

   Re Court should adopt the R&R, which is based on sound reasoning and well-supported factual

   ﬁndings. Re City’s Objections misstate the record, misapply the law, and otherwise fail to disrupt

   the R&R’s appropriate ﬁndings and cogent analysis.

            I. Ee Court Should Adopt the R&R

               Plaintiﬀs will not restate prior ﬁlings, but note that most of the City’s Objections (“Obj.”)1

   are adequately addressed by the R&R itself, Plaintiﬀs’ Preliminary Injunction Motion (“Mot.”),

   and Plaintiﬀs’ Reply (ECF 39) in support. To the extent the City incorporates its Motion to Dismiss

   into its Objections, Plaintiﬀs incorporate into this ﬁling their Response to the Motion to Dismiss

   (ECF 37) to rebut the City’s shotgun pleading and standing arguments.

            II. Ee City’s Misstatements of the Record and Attempts to Lead the Court Astray Fail
                to Undermine the R&R’s Sound Reasoning and Factual Findings

               Plaintiﬀs address just a few other points raised in the City’s Objections.



   1
               Citations to the Objections use ECF pagination.

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           A. Eis is a Racial Gerrymandering Case

           First, this case is not “unique.” Contra Obj. 3. Legally, this case is quite ordinary. Plaintiﬀs

   seek to enjoin the City from enforcing ﬁve City Commission districts that were racially

   gerrymandered in violation of the Equal Protection Clause. Rat is to say: each district was drawn

   with race as the predominant factor, and this use of race was not narrowly tailored to a compelling

   governmental interest, such that each district is an unconstitutional racial classiﬁcation. Re law of

   racial gerrymandering is well-settled, and this case ﬁts squarely within it. See, e.g., Cooper v.

   Harris, 581 U.S. 285 (2017); Bethune-Hill v. Va. State Bd. of Elections, 580 U.S. 178 (2017); Ala.

   Legis. Black Caucus v. Alabama (ALBC I), 575 U.S. 254 (2015); Easley v. Cromartie, 532 U.S.

   234, 249 (2001); Shaw v. Hunt, 517 U.S. 899, 907 (1996); Miller v. Johnson, 515 U.S. 900 (1995);

   United States v. Hays, 515 U.S. 737 (1995); Shaw v. Reno, 509 U.S. 630, 643 (1993).

           No part of the racial gerrymandering claim requires “increas[ing] the concentration of

   [racial group] residents in any district,” or showing racial groups’ “vote[s] were diluted.”2 Contra

   Obj. 3, 8, 12, 16. All the racial gerrymandering test asks is (1) was race the predominant factor

   behind a given district and (2) if so, does the use of race survive strict scrutiny.



   2
           Re R&R considers “the impact of the challenged law” and other factors relating to

   disparate impact as part of its assessment of the Arlington Heights evidentiary factors. Plaintiﬀs

   understand the R&R to use the Arlington Heights factors as an analytical tool to assist in answering

   the ultimate question: did race predominant in the design of each district? Because that is the

   relevant legal question, certain Arlington Heights factors are more relevant more than others.

           Nonetheless, this racial classiﬁcation had substantial impacts. Namely, Plaintiﬀs were

   sorted into diﬀerent districts based on their race, with their neighborhoods and communities

   divided along racial lines as a result.

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          B. Race Predominated in the Design of Each District

          Re exhaustive direct and circumstantial evidence in the record points inexorably to one

   conclusion: “the City designed the Enacted Plan to preserve the Hispanic super-majorities in

   Districts 1, 3, and 4, and to preserve District 2 as an ‘Anglo access’ district.”3 R&R 4. Re City

   admits to racial predominance in District 5, for which it set a 50% Black voting-age population

   (BVAP) quota. Id. Evidence of racial predominance in each district is extensive and not limited to

   one neighborhood or area of the City.4



   3
          Plaintiﬀs are unsure why the City objects to the “undeﬁned” term “Anglo,” which appears

   44 times in the Commission meeting transcripts. See ECF 24-11 to 24-18. Re transcripts make

   clear commissioners used “Anglo” to refer to non-Hispanic white people, using the term

   “interchangeably” just like the R&R. Obj. 3 n.2.

          Re City seems to misinterpret Commissioner Carollo’s repeated gibes at Commissioner

   Russell’s mixed-race Japanese American heritage. See, e.g., ECF 24-11 (Tr. 1) at 28:6–9 (Carollo:

   “I decided that I was gonna put in my political capital and make districts to assure . . . there would

   be an Anglo. We’ve got half of one now but we’re still good.”).
   4
          Commissioners continue to insist that their redistricting goals were race-based. CITY OF

   MIAMI, May 11, 2023 City Commission Meeting, https://miamiﬂ.granicus.com/MediaPlayer.

   php?view_id=1&clip_id=1182 (Díaz de la Portilla at 2:11:00: “We want an African American

   representation, we wanted non-Hispanic White representation”; Reyes at 2:13:37: “Since Day One

   when the boundaries were drawn, it was to assure diversity in the City of Miami. And the only

   way that we can assure diversity in the City of Miami is by—I’m going to call a spade a spade,

   but—gerrymandering. We have to bunch together ethnicity– ethnic voters in order to be able to




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          Re City argues the Court should ignore commissioners’ myriad explicit statements

   expressing their intent at the time they made the relevant mapping decisions, and instead cabin its

   review to just the formally adopted resolutions reduced to writing by the City Clerk and approved

   by the City Attorney. Obj. 3; see ECF 50-1 to 50-9. Rat argument makes sense from the City’s

   perspective—the very ﬁrst instruction in the very ﬁrst resolution declares the Commission’s

   “prime directive” to “Comply with the United States Constitution and the Voting Rights Act.”

   ECF 50-1; see ECF 24-11 (Tr. 1) at 7:7. But courts do not require plaintiﬀs to show the government

   formally adopted a policy of violating the law in order to prevail. Nor does a “We Are Complying

   with the Law” declaration immunize government action. Re better evidence of what the

   Commission intended is commissioners’ statements of their intent at the time they debated and

   adopted the map.

          Finally, while the racial predominance analysis is district-by-district and the record

   certainly reﬂects that the design of each district as a whole was race-based, Plaintiﬀs did not

   somehow “abandon” their argument that the individual areas moved between districts were also

   race-based. Contra Obj. 8. Race motivated both the Commission’s decision to move individual

   areas between districts, and its decision to carry forward the race-based cores from the 2013 Plan.

   All these choices together support racial predominance with respect to each district as a whole.

          C. District 5’s Arbitrary 50% BVAP Quota Fails Strict Scrutiny

          Re Commission’s adoption of an uninformed 50% BVAP quota for District 5 was not

   narrowly tailored to compliance with Section 2 of the Voting Rights Act. Re R&R correctly ﬁnds

   that “[t]he City ultimately misapprehends what the VRA required of it; as Plaintiﬀs note, the City



   have an Afro American, make sure they are represented, and a non-Hispanic white, representing

   the City of Miami.”)

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   has conﬂated a numerical 50% BVAP majority with the ability of Black voters to elect preferred

   candidates.” R&R 83.

          Re City’s argument on narrow tailoring rests on a fundamental error: it asserts Plaintiﬀs

   propose 48% BVAP as the Black share the VRA requires. Obj. 10, 13–14. Ris is false. As

   Plaintiﬀs explain in their Motion (at 33–35) and Reply (at 8–9), and as the R&R discusses (at 47,

   81, 85), Dr. Moy estimated the proportion of registered voters needed to elect the Black-preferred

   candidate in the elections he studied. He estimated that, in the election with the highest level of

   racially polarized voting, 49% Black registration—corresponding to 48.8% Black citizen voting-

   age population (BCVAP)—would be suﬃcient to elect the Black-preferred candidate. Re Enacted

   District 5, at 58.2% BCVAP, is nowhere close to this evidence-based number (which is itself a

   ceiling, on the high end of what may usually be suﬃcient for Black ability-to-elect).5

          Nor can the City claim something “special” in 50% simply because it is “mathematically

   the deﬁnition of a majority.” Obj. 15. Re City continues to conﬂate the ﬁrst Gingles

   precondition—what a Section 2 plaintiﬀ must prove is possible to draw to establish Section 2

   liability—with what the Section 2 requires as a remedy: “the ability of Black voters to elect

   preferred candidates.” R&R 83. Re City says it had trouble ﬁnding published cases where courts

   have approved maps with VRA-protected districts under 50% BVAP. Obj. 16. Well, such cases

   abound just within Florida. See, e.g., Jacksonville Branch of NAACP v. City of Jacksonville



   5
          Attempting to undermine Plaintiﬀs’ case for a remedial District 5 that lowers the Black

   share while preserving Black voters’ ability to elect preferred candidates, the City posits a version

   of District 5 that is 49% Black and 44% Hispanic by registration. Obj. 14. Enacted District 5 is

   26.6% Hispanic and 12.9% Anglo by registration. ECF 24-93 at 37. It is mathematically

   hard to imagine the Hispanic share increasing 18 points if the Black share remains at least 49%.

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   (Jacksonville III), 2022 WL 17751416 (M.D. Fla. Dec. 19, 2022) (ordering remedy with two VRA-

   protected districts of 46.9% and 38.6% BVAP) and Corr. Expert Rep. of Anthony E. Fairfax at

   135, (Nov. 22, 2022), ECF 91-1 (table with BVAPs); In re Senate Joint Resol. 100, 334 So. 3d

   1282, 1289 (Fla. 2022) (concluding ﬁve VRA-protected districts of 40.1, 44.3, 46.2, 48.0, and

   48.5% BVAP “do not impermissibly dilute minority voting strength”), Pet. App’x at 435, 450

   (Feb. 9, 2022) (tables with BVAPs), and Br. of Fla. House at 24 (Feb. 21, 2022) (noting that only

   7 of the 18 Florida House districts in which Black voters have a legally pr otected ability to elect

   preferred candidates are majority-BVAP); In re Senate Joint Resol. 2G, 601 So. 2d 543, 546 (Fla.

   1992) (ﬁnding 45.8%-BVAP district “best suited” to give “black voters [] a reasonable opportunity

   to elect a candidate of their choice”); De Grandy v. Wetherell, 794 F. Supp. 1076, 1088, 1089 n.5

   (N.D. Fla. 1992) (ordering plan—which “the De Grandy plaintiﬀs ‘generally accept’”—with

   45.7%-BVAP district, and ﬁnding “the evidence showed that African-Americans will have the

   opportunity to elect candidates of their choice in that district”).

          Regardless, nothing in the record reﬂects that the City’s 50% BVAP quota was supported

   by the requisite “strong basis in evidence”—no “functional analysis of the electoral behavior

   within the particular election district,” no “determin[ation] [of] what minority population

   percentage will satisfy [the VRA’s] standard.” Bethune-Hill, 580 U.S. at 194 (quoting ALBC I,

   575 U.S. at 278). Re City points to “population trends,” but the R&R correctly ﬁnds De Grandy’s

   assessment of whether past population trends will continue, and by how much, failed to support a

   50% target—which in any event was contradicted by De Grandy’s own advice that lower BVAPs

   would comply with the VRA. R&R 48–50, 82–86.

          Further, in support of its “trends” argument, the City asserts District 5’s Black registration

   dropped from 56.86% to 52.76% in a single year. Obj. 15. Ris is false. 56.86% is the Black




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   registration of the pre-redistricting conﬁguration of District 5, under the 2013 Plan. ECF 24-92 at

   35 (dated Feb. 1, 2022). Re City’s “trends” analysis compares two diﬀerent geographic areas of

   the City (the 2013 District 5 and the 2022 Enacted District 5).

          D. Any Delay Is Part of Balancing the Equities, Which Tip Firmly for Plaintiﬀs

          Re R&R correctly weighs the “immense” irreparable harm Plaintiﬀs and the public will

   suﬀer if elections proceed under unconstitutional districts against other equitable factors, ﬁnding

   the equities balance in Plaintiﬀs’ favor and an injunction is in the public interest. R&R 92–100;

   Jacksonville Branch of NAACP v. City of Jacksonville (Jacksonville II), 2022 WL 16754389, at

   *5 (11th Cir. Nov. 7, 2022). Any delay in the litigation timeline fails to disrupt this balance.

          Re R&R correctly notes Plaintiﬀs challenge new harms in a new enactment. R&R 94.

   Historical evidence that the inherited district cores were also raced-based is relevant to whether

   this Commission’s decision to carry forward (and exacerbate) those cores was itself race-based.6

   Jacksonville II, 2022 WL 16754389, at *3. Re City’s insistence that Plaintiﬀs should have

   challenged the 1997, 2003, or 2013 Plans ignores the crucial fact that racial predominance now



   6
          Re City objects to the R&R’s citations to “post-enactment statements of prior intent of

   Commissioner Carollo—who was mayor, not a commissioner at the time” the 1997 Plan was

   adopted. In fact, Carollo was a member of the City Commission at the time, under the City’s then-

   existing commission-manager structure. In that role, he actively participated in both proposing the

   single-member district system and the 1997 Plan. See generally ECF 24-44 to 24-63. Voters

   adopted the current strong-mayor system in the very same election they approved single-member

   districts. ECF 24-63 (9/5/97 Viglucci Article).

          Further, the R&R correctly gives weight to commissioners’ statements on historical events

   as relevant to their present intent in drawing the Enacted Plan. R&R 65–66.

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   must be justiﬁed by narrow tailoring now.

           Further, the City’s assertion that GRACE and Plaintiﬀ Johnson should have ﬁled suit in

   20197 and 2021,8 respectively, neglects that laches bars late-in-decade redistricting suits, when the

   next census is around the corner. See, e.g., Fouts v. Harris, 88 F. Supp. 2d 1351, 1354 (S.D. Fla.

   1999) (three-judge court), aﬀ’d sub nom. Chandler v. Harris, 529 U.S. 1084 (2000) (mem.) (“[I]f

   the Court were to impose redistricting [in 1999] before the 2000 census, such redistricting would

   necessarily be based on 1990 census ﬁgures. Such old census ﬁgures have been recognized as

   unduly prejudicial . . . .”).9

           In any event, this litigation came as no surprise to the City. Re City was put on notice

   when it received the two ACLU letters in February and March 2022. ECF 24-28 at 2; ECF 24-29

   at 2 (both raising “equal protection concerns”). Even before then on February 10, 2022, Carollo

   predicted, “we’re gonna be sued.” ECF 24-15 (Tr. 4B) at 42:1; cf. League of Women Voters of Fla.

   v. Detzner, 172 So. 3d 363, 438 (Fla. 2015) (“Litigation over their plans was ‘a moral certainty,’

   as their lawyers put it earlier in this case . . . .”); see also ECF 24-16 (Tr. 5A) at 39:21–40:5 (De



   7
           Re City faults GRACE for not challenging “the 2020 or 2021 elections.” Obj. 19. Rere

   were no City Commission elections in 2020. Election Results Archive, MIAMI-DADE CNTY.

   ELECTIONS DEP’T, https://www.miamidade.gov/global/elections/election-results-archive.page.
   8
           2021 is the year before Plaintiﬀs sued.
   9
           As for the District 2 special election, Plaintiﬀs stand by their arguments in footnote 7 of

   their Reply (ECF 39). Re special election for just one of ﬁve districts could not have been

   anticipated until the Commission failed to ﬁll the vacancy by appointment on January 8, 2023.

   District 2 is up again in November. See Jacksonville Branch of NAACP v. City of Jacksonville

   (Jacksonville I), 2022 WL 7089087, at *50 n.68 (M.D. Fla. Oct. 12, 2022).

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   Grandy recounting involvement in numerous redistricting litigation); R&R 50 (De Grandy

   invoking attorney-client privilege for conversations with commissioners occurring nearly a year,

   or more, before litigation was ﬁled). Re City had ample notice of potential litigation and ample

   time to prepare for it.

           Finally, the R&R correctly notes that the City did not argue any delay was “intentional,

   strategic, or even negligent.” R&R 95 (quoting Jacksonville I, 2022 WL 7089087, at *52). But

   now, the City tries to assert Plaintiﬀs ﬁnagled a strategic advantage from the litigation timeline.

   Far from it. Any delay makes Plaintiﬀs’ ability to secure an injunction harder. Considering that

   “the record is large, [] Plaintiﬀs’ evidentiary burden is high,” and their “harms will not be fully

   realized until the November 2023 election,” Plaintiﬀs have demonstrated reasonable diligence in

   prosecuting this case. R&R 95, 97. Indeed, Plaintiﬀs sought preliminary relief in a “sweet spot”

   “close enough to the election that Plaintiﬀs’ irreparable harm would be imminent, but possibly not

   too close in time to November 2023 to implicate the Purcell principle.” Id. 97. Regardless, any

   delay is just one factor to be weighed, and the equities balance ﬁrmly in Plaintiﬀs’ favor.

           E. Purcell Does Not Apply to this Case

           Re City waived arguments based on Purcell v. Gonzalez, 549 U.S. 1 (2006). R&R 99.

   Regardless, Purcell is inapplicable for the reasons explained in the R&R (at 97) and in Plaintiﬀs’

   Reply (at 15–16). Rere is ample time to have a new map in place following an injunction. August

   1 is the date by which the County Elections Department needs a new map. Ris date-certain renders

   Purcell inapplicable. Reply 16 (citing Jacksonville II, 2022 WL 16754389, at *2 and Rose v.

   Raﬀensperger, 143 S. Ct. 58 (2022) (mem.)).

           Re City tries to confuse the Court by reinventing Purcell’s prohibition on changing rules

   too close to an election into a prohibition on changing election rules too close to August 1. Rat is




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   simply not how Purcell works. If the City had not waived Purcell arguments and had the Elections

   Department not given a date-certain by which it needs a new map, the Purcell clock would run

   from the date of this Court’s negative injunction. A ruling by May 23 or shortly thereafter would

   obviate any possible Purcell issues given recent Supreme Court and Eleventh Circuit caselaw. See

   Mot. 36; Reply 14.

          F. Questions of Remedy are Premature and, in Any Event, Plaintiﬀs Will Propose
             Remedial Plans Promptly After an Injunction

          Re City predicts Plaintiﬀs will inevitably challenge their redrawn map, and argues that

   their prognostication somehow undermines Plaintiﬀs’ entitlement to an injunction. Obj. 20. Should

   an injunction issue, Plaintiﬀs intend to work with the City and commissioners in good faith to

   adopt a new, constitutional map. Plaintiﬀs earnestly hope the City intends to do the same.

          Far from being “impossible,” Obj. 10, complying with the Constitution is quite easy. De

   Grandy himself advised commissioners they could emphasize diﬀerent priorities than maintaining

   the cores of the existing race-based districts. R&R 49. Re City chose not to explore diﬀerent types

   of maps that prioritized serving neighborhoods and drawing compact districts, id., and now throws

   up its hands. Ris is not a reason to deny Plaintiﬀs’ Motion.

          In response to the City’s suggestion that perhaps the Enacted Plan “will pass muster if it is

   adopted without looking at race,” such an ostensible “race-blind” approach that coincidentally

   stumbles into an eerily similar conﬁguration as the Enacted Plan would fail to provide a “full and

   adequate remedy” to the race-based sorting of voters. United States v. Osceola Cnty., 474 F. Supp.

   2d 1254, 1256 (M.D. Fla. 2006); Jacksonville III, 2022 WL 17751416, at *14 (“[T]he race-blind

   criterion alone does not immunize the districts in the Remedial Plan from further review nor does

   it necessarily remedy the constitutional violation.”); Covington v. North Carolina, 283 F. Supp.

   3d 410, 424 (M.D.N.C. 2018), aﬀ’d in part, rev’d in part, 138 S. Ct. 2548.



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          Relatedly, as Plaintiﬀs’ counsel noted during the May 11, 2023 status conference, Plaintiﬀs

   are prepared to propose one or more potential remedial maps to the Commission very shortly after

   a ruling granting an injunction. Plaintiﬀs hope such proposals spark productive dialogue with the

   City and yield an agreed-upon map that remedies all the constitutional defects the Court identiﬁes

   in an order granting an injunction.

     III. Conclusion

          Far from being the product of a Court “who probably knows nothing about our city,” May

   11, 2023 City Commission Meeting, at 2:12:10 (comments of Commissioner Díaz de la Portilla),

   the R&R thoroughly reviews the record, makes well-supported factual ﬁndings, and properly

   applies the law. Re Court should adopt the R&R and grant Plaintiﬀs’ Motion.



   Respectfully submitted this 18th day of May, 2023,

   /s/ Nicholas L.V. Warren

   Nicholas L.V. Warren (FBN 1019018)                   Neil A. Steiner*
   ACLU Foundation of Florida, Inc.                     Dechert LLP
   336 East College Avenue, Suite 203                   Rree Bryant Park
   Tallahassee, FL 32301                                1095 Avenue of the Americas
   (786) 363-1769                                       New York, NY 10036
   nwarren@acluﬂ.org                                    (212) 698-3822
                                                        neil.steiner@dechert.com
   Daniel B. Tilley (FBN 102882)
   Caroline A. McNamara (FBN 1038312)                   Christopher J. Merken*
   ACLU Foundation of Florida, Inc.                     Jocelyn Kirsch*
   4343 West Flagler Street, Suite 400                  Dechert LLP
   Miami, FL 33134                                      Cira Centre
   (786) 363-2714                                       2929 Arch Street
   dtilley@acluﬂ.org                                    Philadelphia, PA 19104
   cmcnamara@acluﬂ.org                                  (215) 994-2380
                                                        christopher.merken@dechert.com
                                                        jocelyn.kirsch@dechert.com

                                                        * Admitted pro hac vice

                                         Counsel for Plaintiﬀs


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